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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

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Attorney for Plaintiffs

STEPHEN GREEN-CELESTINE                      Civil Action No. :
AARON GREEN, H/H,

                  Plainti ffs,

vs.

MICHAEL MASUCCI, UNITED STATES
OF AMERICA, UNITED STATES                    COMPLAINT
POSTAL SERVICE, JOHN DOES 1 10
(fictitious names), JANE ROES
1-10 (fictitious names) and ABC
COMPANIES 1 10 (fictitious
names) ,

                  Defendants.
-----------------------------------x

                                   I.    Parties

      1.     Plaintiff, S          Green-Celestine, residing at 9

Street,            Newark, New Jersey 07114.

      2.     Plaintiff, Aaron Green, residing at 9 Vanderpool Street,

Apt. lA,           New Jersey 07114.

      3.     Defendant, Michael Masucci, residing at 19 Omaha Avenue,

Rockaway, New          07866.

      4.     United States Postal Service, is a

government        /department of the United States of America, with a

location of 436 Valley Brook Avenue, Lyndhurst, New Jersey 07071.

                             II.        Jurisdiction



      5.     This case is brought under the Federal Tort Claims Act and
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jurisdiction is predicated, pursuant to 28 U.S.C. section 1346 (b).

     6.   In accordance with 28 U.S.C. section 2401 (b) and 39 C.F.R.

912.9(a) an administrative claim was presented to the United States

Postal Service.

                               III.    Venue

28 U.S.C. section 1402(b)

     7.   Plaintiffs reside at 9 Vanderpool Street, Apt. lA, Newark,

New Jersey 07114.

     8.   Therefore, pursuant to 28 U.S.C. Section 1402(b) venue lies

ln the District of New Jersey.

                                 FIRST COUNT

     1.   On or about December 27, 2019, the Plaintiff, Stephen C.

Green-Celestine, was the operator of a motor vehicle which was

proceeding in an easterly direction along Second Avenue at or near its

intersection with Summit Avenue, in the Township of Lyndhurst, County

of Bergen and State of New Jersey.

     2.   At the time and place aforesaid,     the Defendant, United

States Postal Service, a government entity/agent/department of the

United States of America was the owner of a motor vehicle which was

being operated by its agent,   servant, and/or employee the Defendant,

Michael Masucci, which was proceeding in an easterly direction along

Second Avenue at or near its intersection with Summit Avenue,    ln the

Township of Lyndhurst, County of Bergen and State of New Jersey.

     3.   At the time and place aforesaid,     the Defendant(s) John Does

1-10 and/or ABC Companies,   Inc. 1-10 (fictitious names) was/were the

owner(s) of a certain motor vehicle(s) which was/were being operated

by his/her/its agent(s), servant(s) and/or employee(s), the
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Defendant(s), Jane Roes 1 10 (fictitious names), a         the aforesaid

roadway (s) .

        4.   The aforesaid Defendant(s) John Does 1 10, Jane Roes 1-10

and/or ABC Companies, Inc. 1 10, are fictitious names intended to

identify any and all parties including individuals,              ions

and/or other entities whose identities are presently unknown to the

Plaintiff who together with the named Defendants, were the owners

          operators of vehicles upon the aforesaid            and whose

       igence contributed to Plaintiff's injuries.

        5.   At the time and         aforesaid, the Defendants, or either

o     them, so negligently           and/or maintained and/or controlled

their motor vehicles as to cause same to strike and collide with the

vehicle which the Plaintiff, Stephen C. Green-Celestine, was

operating.

        6.   As the direct and proximate result of the aforesaid

       igence of the Defendants, the Plaintiff, S         C. Green-

Celestine, sustained serious and permanent physical         uries,

suf          still suffers and will continue to suffer from great

physical pain and mental          sh, was confined, is and will continue

to be so confined, was obl         , still is, and will in the future be

obli         to expend         sums of money for medical and other needed

care of the aforesaid        uries, was prevented, is, and will in the

future be prevented from              his usual course of conduct and

employment and in the future will be caused great           and suffering,

to his great loss and

        WHEREFORE, the Plaintiff, Stephen C. Green-Celestine, demands

judgment against the Defendants, United States Postal           ce, a
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government entity/agent/department of the United States Of America,

Michael Masucci, John Does 1-10 (fictitious names), Jane Roes 1-10

(fictitious names), and ABC Companies,   Inc. 1-10 (fictitious names),

either individually,   jointly and/or severally, for damages, together

with interest and costs of this suit.


                                         LAW                       ADI

Dated: October 23, 2020
                                         ERNEST BLAIR,
                                         Attorney for Plaintiffs

                          DEMAND FOR TRIAL BY JURY

     The Plaintiffs demand a trial by jury as to all issues herein.




Dated: October 23, 2020                  Attorney for Plaintiffs
